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UNITED STATES DISTRICT COURT                                           ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                          DOC #:
                                                                       DATE FILED: 11/1/2019
 ----------------------------------------------------------------- X
DONALD BERDEAUX and CHRISTINE                                      :
GRABLIS, Individually and on Behalf of All Others :
Similarly Situated,                                                :
                                                                   :     19-CV-4074 (VEC)
                                              Plaintiff,           :
                                                                   :         ORDER
                            -against-                              :
                                                                   :
ONECOIN LTD.; RUJA IGNATOVA,                                       :
KONSTANTIN IGNATOV; SEBASTIAN                                      :
GREENWOOD; MARK SCOTT; IRINA                                       :
ANDREEVA DILINSKA; DAVID PIKE; and                                 :
NICOLE J. HUESMANN,                                                :
                                                                   :
                                              Defendants.          :
 ----------------------------------------------------------------- X

VALERIE CAPRONI, United States District Judge:

        In this putative class action, Plaintiffs have sued Defendant OneCoin Ltd. and various

individuals for alleged fraud perpetrated through a cryptocurrency Ponzi scheme. Dkt. 40. On

August 23, 2019, the Court stayed all proceedings until all Defendants have been served.

Dkt. 46. Plaintiffs have now moved for alternative means of service pursuant to Federal Rule of

Civil Procedure (“Rule”) 4(f)(3). Dkt. 59. Their motion is unopposed.

        As of the date of this Order, four of the Defendants in this action remain unserved. Not

surprisingly, these are foreign Defendants whose whereabouts, according to Plaintiffs, are

unknown: OneCoin Ltd., Ruja Ignatova, Sebastian Greenwood, Konstantin Igantov, and Irina

Andreeva Dilinska. Because Plaintiffs have not shown that they have taken reasonable steps to

attempt to serve these Defendants, the Court denies Plaintiffs’ motion without prejudice.

        Under Rule 4(f)(3), service may be effected upon individuals in foreign countries by any

means “not prohibited by international agreement, as the court orders.” Fed. R. Civ. P. 4(f)(3).



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“The decision of whether to order service of process under Rule 4(f)(3) is committed to the

sound discretion of the district court.” Stream SICAV v. Wang, 989 F. Supp. 2d 264, 278

(S.D.N.Y. 2013) (collecting cases). Before ordering alternative service under this rule, “district

courts in this Circuit have generally required: (1) a showing that the plaintiff has reasonably

attempted to effectuate service on the defendant, and (2) a showing that the circumstances are

such that the court’s intervention is necessary.” United States v. Lebanese Canadian Bank SAL,

285 F.R.D. 262, 267 (S.D.N.Y. 2012) (collecting cases); see also Stream SICAV, 989 F. Supp. 2d

at 278. Additionally, before ordering alternative service, courts must ensure that the means of

service “comports with constitutional notions of due process.” Stream SICAV, 989 F. Supp. 2d

at 278 (quoting SEC v. Anticevic, 2009 WL 361739, at *3 (S.D.N.Y. Feb. 13, 2009)).

       Plaintiffs have not established a factual basis for their assertion that they have taken

reasonable steps to find and serve the unserved Defendants. Their motion therefore does not

meet the first requirement of district courts in this Circuit. Although Plaintiffs assert, ipse dixit,

that “due diligence has been fruitless” in determining the unserved Defendants’ current

addresses, Plaintiffs’ counsel has not submitted any declaration or other factual support

describing their due diligence.

       That factual deficit is reason enough to deny Plaintiffs’ motion, but the Court is also

skeptical that Plaintiffs’ proposed alternative means of service would meet the requirements of

due process. Plaintiffs’ proposed means must be “reasonably calculated under all the

circumstances, to apprise interested parties of the pendency of the action and afford them an

opportunity to present their objections.” Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S.

306, 314 (1950). In an effort to persuade the Court that their proposal meets that standard,

Plaintiffs assert that the United Arab Emirates address is OneCoin’s registered office, but do not




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say as of when or offer any sort of proof to support that assertion. Plaintiffs also do not show

that the onecoin.eu email that Plaintiffs propose to use for service are in fact functional and

currently in use. This latter gap in Plaintiffs’ motion is especially concerning because OneCoin’s

website, which matches the onecoin.eu email domains, appears to be non-functional. 1 Perhaps

OneCoin’s website and email addresses were operational a year ago, but they no longer appear

functional and active. The Court therefore suggests that Plaintiffs address these concerns in any

renewed application for alternative service.

        For the foregoing reasons, Plaintiffs’ motion for alternative service is DENIED without

prejudice. The Clerk is respectfully directed to terminate the open motion at Dkt. 59.



SO ORDERED.
                                                                  ________________________
Date: November 1, 2019                                               VALERIE CAPRONI
      New York, New York                                           United States District Judge




1
          The Court recognizes that its concern with these email addresses does not apply to Defendant Greenwood,
for whom Plaintiffs offer Gmail and Loopium email addresses. But Plaintiffs must still show what reasonable
efforts they have made to serve Defendant Greenwood, as discussed supra. In addition, the Court is generally
puzzled by Plaintiffs’ need and proposed means with respect to Defendant Greenwood for alternative service
because the Amended Complaint alleges that Greenwood has been “extradited to the United States, where he is
awaiting trial on criminal charges.” Dkt. 40 ¶ 32. Rule 4(f)(3) authorizes service of “an Individual in a Foreign
Country” “at a place not within any judicial district of the United States.” If Plaintiffs are correct regarding
Greenwood’s extradition, Rule 4(f)(3) is not applicable to him.


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